 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 1 of 28 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Lennox LAWREN CE

(Full name under which convicted)
PETITIONER

C-63 9/5

(Prisoner number)

} .
[IF you need additional space for ANY section, please attach an additional sheet and reference that section.)
|
|
|

 

CASE NO: /T je aye

(Supplied by Clerk of this Court)

 

VS.

Personer Review Board
(Warden, Superintendent, or authorized

person having custody of petitioner}

 

RECEIVED

RESPONDENT, and
AUG 1 4 2977
(Fill in the following blank only if judgment 7
attacked imposes a sentence to commence CLER MOS G. BRUTO
in the future) K US. DISTRICT COURT

ATTORNEY GENERAL OF THE STATE OF

LLLINOIS

(State where judgment entered)

Case Number of State Court Conviction:

75-5021

 

nee nee nee” eee” ee ng ne” ne” og Monge a” Soma oe” ne ee ge ee ee Sage Sa Su Sg Suge Sage

PETITION FOR WRIT OF HABEAS CORPUS — PERSON IN STATE CUSTODY

l. Name and location of court where conviction entered:

ILLINOIS Crreutt Court of Cook Councty at
AL0D Seuth Cal Beenie. Avenue. in Chicago L0L08

2, Date of judgment of conviction:

 

3. Offense(s) of which petitioner was convicted (list all counts with indictment mumbers, if known)

Murder and Murder and Attempt -at- Murder 75-5021

 

4, Sentence(s) imposed: _
100 +2 BOO yaars plas 100 +o AOO yaoars plus 50 +o 100 years

 

5. What was your plea? (Check one) (A) Not guilty (a
(B) Guilty { )
(C) Nolo contendere ( )

If you pleaded guilty to one count or indictment and not guilty to another count or indictment, give details:
DOES NOT APPLY

Revised: 06/04/15

[If you need additional space for ANY section, please attach an additipnal sheet and reference that section.]

 
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 2 of 28 PagelD #:2

[If you need additianal space for ANY section, please attach an additional sheet and reference that section |

PART I-- TRIAL AND DIRECT REVIEW

1. Kind of trial: (Check one): Jury (yo Judge only { }

2. Did you testify at trial? YES ae NO ( )

3. Did you appeal from the conviction or the sentence imposed? YES ( a NOC )

(A) If you appealed, give the

(1) Name of court: First District Appellate. Court

 

 

 

(2) Result: Conv etio rt ALL, rmad

(3) Date of ruling: Patitio nor Cannet Reco if

4) |] ised: “Po

( ) ssues raise Pati ones does not remeamn ber

 

and has ne ac0eoss fo Juditial Record

 

{B) If you did not appeal, explain briefly why not:

DOES NOT APPLY

4. Did you appeal, or seek leave to appeal, to the highest state court? YES cm NO ( )
(A) If yes, give the
(1) Result: Rule BIS Petrton Denied
(2) Date of ruling: RA poner Cann ot Recal i
(3) Issues raised: Patrhoner deos net remem ber and has

 

no aceess -fo Jadreral Record

 

 

(B) Ifno, why not: DOES NOT APPLY

 

5. Did you petition the United States Supreme Court for a writ of certiorari? Yes (71 No ( )
22°

If yes, give (A) date of petition: . (B) date certiorari was denied: ° ? ?

2 Revised: 06/04/15

[IF you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 3 of 28 PagelD #:3

[If you need additional space for ANY section, please attach an additional sheet and reference that section]

PART II - COLLATERAL PROCEEDINGS

l.

With respect to this conviction or sentence, have you filed a post-conviction petition in state court?

YES (vf NO( )

With respect to each post-conviction petition give the following information (use additional sheets if
necessary):

A,
B.
C.

ma a Bo

Name ofcout; Cook Caun-ty Cireult Gurt in Chicago 60608

Date of filing: Fatttroner Cannot Recall ~

Issues raised: Retthie ner does net remem ber and has
Mo aecass +e wludrcral Record

 

Did you receive an evidentiary hearing on your petition? YES ( ) NO we

What was the court's ruling? Rts tu Dis miss eo Uneontestd

Date of court's ruling: Retrtioner Can nét Kecal (

Did you appeal from the ruling on your petition? YES (WT NO( )

(a) Ifyes, (1) what was the result? Affirmed Triol Court Dismiss al
(2) date of decision: Rtitiner Cannet Kecal (

(b} Ifno, explain briefly why not: DOES NOT APPLY

 

 

 

Did you appeal, or seek leave to appeal this decision to the highest state court?

YES (wf NO( )

(a) Ifyes, (1) what was the result? Rule 3/5 Petrhon Deniad
(2) date of decision: Retthonaer Cannst Reeaill

(b)  Hfno, explain briefly why not:

 

 

DOES NOT APPLY

 

 

 

 

 

3 Revised: 06/04/15

[!f you need additiona! space for ANY section, please attach an additionai sheet and reference that section.]
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 4 of 28 PagelD #:4

[}f you need additional space for ANY section, please attach an additional sheet and reference that section.]

2. With respect to this conviction or sentence, have you filed a petition in a state court using any other form of
post-conviction procedure, such as coram nobis or habeas corpus? YES ( ) NO ( )

A. If yes, give the following information with respect to each proceeding (use separate sheets if necessary):

1. Nature of proceeding Posteonviction Pehtan
2. Date petition filed July AOS
3. Ruling on the petition No Ae Vert

4. Date of ruling Fanding

5. If you appealed, what was
the ruling on appeal? D. N.

A.
6. Date of ruling on appeal "D. N. A.
A

7. ‘If there was a further appeal,
what was the ruling ? Dd. N.

8. Date of ruling on appeal D. N. A.

3. With respect to this conviction.er sentence, have you filed a previous petition for habeas corpus in federal
court? YES ( } NO ( ,

A. If yes, give name of court, case title and case number: DOES NOT APPLY

 

B. Did the court rule on your petition? If so, state
(1) Ruling: DOES NOT APPLY
(2) Date: DBD. N. A.
4, With respect to this conviction or sentence, are there legal proceedings pending in any court, other than this
petition? YES ( NO ( )
If yes, explain:
Pastoonvicthon Rtrhon sea king redress ef grievance
against 2X08 SSIVO sentonca imprisaamant AF K&
fens ‘Te in -prossadings reautting 10 this substantial
denial of due. prockis Acfined- and made. spectre by
Miller -v- Alabama, (32 S.Ch 2455 and a long hxt of
related | decsS:ans.

 

 

4 Revised: 06/04/15
(If yau need additional space for ANY section, please attach an additional sheet and reference that section.]
 

 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 5 of 28 PagelD #:5

[if you need additional space for ANY section, please attach an additional sheet and reference that section]

PART II — PETITIONER'S CLAIMS

1. State briefly every ground on which you claim that you are being held unlawfully. Summarize briefly the
facts supporting each ground. You may attach additional pages stating additional grounds and supporting facts. If
you fail to set forth all grounds in this petition, you may be barred from presenting additional grounds later.

BEFORE PROCEEDING IN THE FEDERAL COURT, YOU MUST ORDINARILY FIRST EXHAUST
YOUR STATE COURT REMEDIES WITH RESPECT TO EACH GROUND FOR RELIEF ASSERTED.

{A) Ground one AHempt-at Compulsory Self- Inerimination

Supporting facts (tell ydur story briefly without citing£ases or law):
Respondents are acting under color of a Stote Law
which authorises Them +o pretend Patifroner 1s & Mare
monstorous ofa ndar than the laundrylist of other
murder convictions They have released in te past
Hd fears, then acbrtrarily and vague les and oppressivaly
and “repeatedly proclaim. that @. foners ref/ease
Orn parole“ at thus time ” woule deprecote the
seriousness of the offence, AS a cruel punishment
-for Fetitioner adaman+Ha refising +e be a Government
ui ness against himself 1; fR this Line's ériminal Case.

(B) Groundiwo_Llnyust Denial of Due Process

Supporting facts: eJ

Respondents ore acting under color of on Stote Law
which authorises Them +o Ignore. the. Hundreds of
Thousands of all types of “Marders thot have occurred
in the 4 years Since Retitoner was unreasonably
seized, an na thonce-forth deviously and inexplicably
and oppressively and repeatedly /Ssua@ the ridiculous
declaration thet Retitioner-’s cond fianal release

“at this time” would promote disrespact for He law.

 

 

5 Revised: 06/04/15
[If you need additional space for ANY section, please attach an additional sheet and reference that section.
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 6 of 28 PagelD #:6

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

(C) Ground three 7 refi etion of Cruel Rinishm ent
Supporting facts:

After pach ~ poohing everthing rotated +o jadieral
opinions Ii'ke. Midler r -v- Alabama, 32 S.Ch JH5S5,
Respondents are. Tifiners Belsoner Review Board Members
whe commited the Official Misconduct of obstructing
justice jn CxXLN SS of Thair fourtal authority, adi th indant

obtain the protessronal advantag a. of Gust Bying
Their intl eton of crua} punishmant, by fresdla ley
concealing evidenHary fret theoct B4itoner has hawn
restored te usefil crtizenship.

 

(D) Ground four

 

Supporting facts:

 

 

 

 

 

 

 

 

 

2. Have all grounds raised in this petition been presented to the highest court having jurisdiction?
YES ( ) NO ¢

3. Ifyou answered "NO" to question (2), state briefly what grounds were not so presented and why not:

 

Petitioner does net Know of any Stet Court thet would
hear oa complaint against iMagrhimad. acts of Respondents.

6 Revised: 06/04/15
(tf you need additional space for ANY section, please attach an additional sheet and reference that section.]

 
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 7 of 28 PagelD #:7

(If you need additional space for ANY section, please aftach an additional sheet and reference that section.)

PART IV — REPRESENTATION

Give the name and address, if known, of each attorney who represented you in the following stages of the
judgment attacked herein:

(A) At preliminary hearing DOES NOT APPLY

(B) At arraignment and plea D. N. A.

(C) Attrial D. N. A.

(D) At sentencing BD. AN. A.

(E) On appeal dD. A.A.

(F) In any postconviction proceeding D. N. A.
(G) Other (state): D. AN. A.

PART V — FUTURE SENTENCE

Do you have any future sentence to serve following the sentence imposed by this conviction?

YES ( ) NO (wi

Name and location of the court which imposed the sentence: DOES NOT APPLY
Date and length of sentence to be served in the future DOES NOT APPLY

WHEREFORE, petitioner prays that the court grant petitioner all relief to which he may be entitled in this
proceeding.

Signed on:
(Date) Signature of attorney (if any)

 

I declare under penalty of perjury that the foregoing is true

  
  

 

 
      
 

Paatare of petition?) /

FC E3915

(LD. Number)

b BR VED xON, Hh, 610K

(Address)

7 Revised: 06/04/15

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 8 of 28 PagelD #:8

LAWRENCE “VS - TL PR.B. Habeas Corpus Action

\

AFFIDAVIT IN SUPPORT OF
PETITION FOR HABEAS CORPUS RELIEF

—

LT, Lennex LAWRENCE #C-639/5 tn the Lltinors State
Paartentiary at Dixon 6102), being First duly Swern upen My
Oath te all the “Truth, Hereunder Swear The: s

1. ZL am a Unsred States ertizen subsoet to the
jurisdiction therecf, and LT have Full legal capacity +e enter
and exit contracts.

ol. Loam submitting this Affidavit in Support of my
foregoing Patrhen fo anjoy my Privilege of a Habeas Corpus West
to redress my grievance against bang ir custody in violation
ef Our Constitution.

3. In mereless vielaton of rights and privile as
Sovereignly Femised and/or Federally Guoarantod by the
Constitutions and/or Laws of TLiiners and/or the Unirhd Stotes,
Members of the Fisener Review Board, with intent + subject
ma to arbitrary and oppressive treatment -for purpose of
inflicting cruel punishment, are. acting under color of a State
stectute. which autherises them te compe | me to be the Rople’s
witness against ray salt in this Government's eriminal case
or suffer the conse quances of boing repeatedly daniad
conditional release on parela without due process of daw.

4. After saying the sare. thing more. than 20 timas, said
Members adamanHy refuse fo soy what appears in ma Jedieral and/er

jast tutional record thet warrants parole denial (ExhibA- LL/20 JUN I7~A).
a

 
Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 9 of 28 PagelD #:9

LAWRENCE -vs- ZL PR.B. Habeas Corpus Action

 

JS. Said Beard Chairman Find ley and Member Johnson,
in particular, are conscrously disregarding the substantial

and unyustFiab le spreulaction that s systamoctically — an more than
as separate oceasjons —make~behaving ZL have not been restored

fo useful crtizenship, and granting ma limifoed Itberty for such
restoration in Free socsasty — at all these oliffarent times — would
daprecate the seriousness of the offence “and” promote disrespect
for the law, without « short and simple mayor plus rmuiner premise
thot lead -+te these conclusions, would result in ne legitimate
reason at all for den nying me parole.

b. This disragard constitutes a radical deviahan
from the standard of care and Jodictousness which any
Fundamentally fair and benevolent Fxocutive Authority emplayaa
ought fo exercise im this srtucctron , as opposed -fa proclaiming
for the ump tanth time. thet my appheaton for parela 1s

denied for reasons SO Vague. os to vie lot. dere process.
7, Since the United Str s Sudreial fewer extends

to all Habeas Corpus Cases in Equity, ZL assert thot clu. procass
calls fer this Federal District Court -fo hold thet the Tilvneis
Genero! Assembly fagrslachively intandad that gualiHeation tor
eonditronal refoase from -fenced-in penitentiary Imprisonmant be
trashed as part of the penalty Br conviction, ond that denial of
such parole is ao fortarture of eleqebr lity Harr plas unprevokael

additional paircful punishment, ,
fn
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 10 of 28 PagelD #:10

LAWRENCE -~-vs~ ZL PR.B. Habeas Corpus Action

8, Fuhibrts #LL 20 JUNYT A to CO are my efhrs of
proot that LL wrote Mr Chairman Find le ; -fo sprerFieally ask
(A) just. about when will my release Ro longar deprecata the
seriousness of the otfinca and (B) how wou lol my refease promot.
disrespect to- Phe low.

q. To tacitly apprise ma of his snake lity do answer
; Me. Chairman Findlas SFloteut
refused to respond fe this letter.

/O. Exhibits #iiL OT GULLIT A to C are my offers of
proof thet To wrote this Court to request, inter alia , what
remedy must TL exhaust +e anyou m4 Habeas Corpus Prvilege.-

He. Upen supply of the foragaing Rtition for a Wet ,
ZL reeasvee nathing thot designates the Stat remedy ZL need
te exhaust betore ae, fo this Court for- fishies

fh, Exhibi HLL 19 FULIT Ato F ts a Petition thet
said Board greet me & Re-Hearing of my application for parole,

these -huve simple questions

or furnish Ma OW Summary stoctement of the reasons for why +

CA) L hove not Leen restoreol to useful crtizenship 3 (B) my
release woulel daprecote the SQrHouSNess of the offence } and,
(c) my release would promot. disrespect for the law.

/3. Zo surmise. thot this Rtton -for Rehearing or

Reasons has been hereunto tgrerad beeause. the Prisoner Rewauw
Boare cannot deserthe a Hietierous mattor in oO tredual mannar,

50 _judieral intervention is needed fo stimalote thei clue FRSponse-

A
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 11 of 28 PageID #:11

LAWRENCE -vs- ZL PR.B. Habeas Corpus Action

4, Exhibrts #LL 27 TULIT A te C fs the 60-day - lacte
Notice of said Board’s Decisjor which Says my release wouled

deprecate the Seriousness of the. offince, presumably , because Lt
retusa to ba a Govarnment witness against myself by conkissing

erimes L did not commit; and alsa saus my release wWeuld
promote disrespect for the laws , presumably, because ZL hove. not

token advantage of educational or othar- programs ; however, ever
the avery Member ef the Board has been made Ginare thet Lt

wos whee ssively sentenced pursuant to Myrtle -v- Alabama,
BX S.Ch 2455, ond Rople -v-Allan, 20/3 LL App. (ist) 102884,

and Reepla -v~ Davis, AOls Th HS S75, and People ~V~ Willams ,
G82 NE. Ad 181, their Decision dees net se much as ins/nuate

restored +o useful ertizenship.

THEREFORE , and because TF obvious Iy have no “ight nor

a A, said Board Members behove Theo ara baunel res act,
undly wish this, United, Shots Dis Bet Court of Northern

~

Titihers wou F| ssuaw Ordars thot command Respondent x te re
this 4detbunal of the three - gigstens on Page wt Farag ra. h Af
Exhibrt #iL- 3 JUL T-£E 3 DL declare ee the moi ep ary! “
prescribed b by law Hot alt, of the Foragorng statements are TPE Lap
correet and exacuhd as such by ma.

4

Zé

THIS_HO- of August 20/7 Late 2 __
anno RENCE. Affiant

Friisenar~ No. C-639/5—
wi

Li linors State Rartentiary
Dixon 6/02).
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 12 of 28 PagelD #:12

XO TUN S/T

   

Honorable Mr. Chairman Frale
State Fr-isoner Review Boare J
319 East Madison #A

Springfield, IL 6270)

Mr. Chairman Finle 3
J

After profoundly Pre in Our Heavenly Fother Ts
Blessing you with excellan ealth and prace of mind,
L am writin to im lore tod you apprise PRE of the
reason or ntona le ~ why ou need fo repectdly subpect

me to so much torment aad agonu,
State Law — 730 TLOS?57f:]-

of the Code of Corrections are °*
(A) to prevent arbitrary judgments and orders
thot cause Frisoners to suffer neadless punishment ;
(B) to prevent oppressive treotmenat of
risoners 5 and,
(C) to restore Frisoners to useful crhzenship.
Sections 5/3-3-] and 3-3-5 farther Sa that our
Trisoner Review Board must Keap records of alf our Hort
BOTS y and see must moke such records acca ssi) fe in accord
with the. [aus and rules of your Beard 3 and that , both, in
said recards and fr weitten notice -to the Trisener on whose
application yeu hove. acted, our Board 1s obliged to stede.
& basis for our Deeszion an Farole,
ith respact te Farole , the au defines “Elvable” OS
fit and preper te be chosen for Supervised libero

wherefore, on more than thi? Separate Occasions, tL Rave

bean legally qualified to rel to reguiremants of parole,

and do QQ work COMMAS A ual th parole.
vA

a Soups “Threw Farposes

- #
On 4
   
    
  

We 63915 LAWRENCE Request Parole Denial Reason
Wf

Giiowevar, despite m capabrlity of living and remaining
A tharshy without viele fr the hous sour Pefsonar Review
Board has, on more than Phe past tulendy conseeurtive
OCCASIONS y found IP padreious and yust to enter the judg mants
thet my release would beliHHe the ser/ousness of tho
offance, and woulda promote disrespect for the law.

Hereunte, yeu hove not ever, one rene yet, ternishad
Mea anythin remotely resembling aN explica: m7
rationale ~- wh my conditional release would be so
dispara ing and Manacing «

Thee on the presdmption thet you are not blactant
cireumvanting and contravening the Poow card Farpases of the
Corrections Onde bu capriciously -forturin Me, and unjustt

» 85 <°P yor 3 wt" es
loading me down ul oO back breaking burden, and conscsously
disregarding that ZL was restored do useful eitizenship
years AGO, to am requesting gee turaish ma a cop: of
whatevar ft 1s thot has Oaver-n-OVer-~n-oVver induce D You
ty reasonably bellave my cond:tional release would
promote disrtspact for e flaw.

Also, T wish you would raform me as -fo just about

when” wrif mu release no longer dlepricoch. the seriousness
of +the offeacet '

M-. Chairman, all things considered, LT do net have. the.
foqqiest concapt of why my release trom 4 years of
cruel punishment could™~ pessrb! express disap rovel of my
eLceassive. sentence } er Row scthn me semi -free would
Cause@ an emulation of Jehn Wayne Gacy or Ted Bund or
Sen-e~Sam or Sethey Dahmer or ohn Hinckley, or perhaps
ineite another Colum me, Hy? h er OkKlahema Federa| Buildin ar
Virg inva Tech or Worle Te de Center or Sandyhook. School ar
Charleston Church ar Miramr False Nig ht elab or other

Massacre m4 conFtrramert did net provoke. Jb.
ot

 
 

reason mar
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 14 of 28 Paje

 
 
  

Prisoner *C-63915 LAWRENCE Request Farele

WHEREFORE, in view thot 730 TLCS 5/3-3-5
‘F mondotory thot your Pisonar Review Board set forth the
tundamento truth upon Which fed repeatedly canclude that
the seriousness of the offenca. would be belrHlad, and
disrespect for the Jaw would be advanced, by m
conditional Iteration, you Fail or refuse # Finish Me

this spectrally requested explanation of said disparagement
and disrespee You hove been conjacturally proclaiming
OVElr=-nN-OaverW for Mare than ar quarter of a combury , AL shall

AaSSUMe your nonteasance 1s the reset of your rrobr lity fo

produce such written narretron.
THEREFORE, in closing, TL arty looks

na -for your prem
response , as Lo thank you and remain J J ft

‘Kaspeetull 5

Abeawphe

“Lennox TAWRENCE
Fr-soner No. C~b3915
Liners Stote Reartantiars
BDrxor E1021.

 
Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 15 of 28 PagelD #:15 ©

“A,

oa

 
for perole.

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 16 of 28 PagelD #:16

Fourth ot July AOL7T

OFGee of the Clerk
United Stoctes Distr e-f Court
Rockford, ZL &//0/

 

Mr. or Ms. Federa/ OGeer:

Loam writing to raguast raformetion about your
exhaustion requirements orbl the firms fir enjoyment of m
Privilege. of 2 Habeas Corpus Weit His doc) Disdret
Cour -fo redress m grievance against being deprived of
hbartey without dud Presess of fan.

SpeeFicall ) L arm seeking relief trom the. ark rtrarsy
and OpPpre ssive Pinial of my a plieation for parole release
by the Libines Frisoner Ryvitw Board,

; For Mare. thon at) dimes, sacl Review Board has
unjust fia bly proclaimed thet my release would deprecate
HE SQridoUus ness of the off nee. and promot. disrespect tor
the Jos , whan aver Member thereof Know dha’s repet tious
decision is doficient because Nohod. ean state One essential
tact which Supports the basis for Thess claniaf of me Pre ar

_ On the ground thet 730 TLCS 5/3-3-1 ot sey,
which governs parele, provides Ma a reasonable ng
le tirtocte. expectation of- release “pen prokable Causa for
an official hahef that L hove been restored fo useful
erhizenship, L sincerely behave thease Stote stotutes

Ive PESe to & Wberhs terest Hat is subject “fo proketion

under the fue. process clouse..

1 of 2
. Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 17 of 28 PagelD#:

dn re LAWRENCE *C-6 39/57 hotter of Enquiry

 
 

To the best of mm Knowl doa , and unhike Stole Courts
on stand by fo review eantes tad udlgene.nts and orders, thare. is
no appe I(ata bench for challenairig arr impermissible
parole denial. ‘

Thas, question ws + “WHAT AVAILABLE STATE
REMEDY MUST ST EXHAUST BEFORE L MAY
LEGALLY PETITION FOR HABEAS CORPUS RELIEF 2?”

Tr elosin ) LL ws on would answoar phi
uestion fo- mer~ +fhen sen me the forms Ou PRgai re

Q SL lad tor sard relief, as thank “yee awd reba

Respectfi ls )

Lennox LAWRENCE
Vrrsoner #C-639/5

Thhineis Stecte Rachetiary
Dixon ZL/O02f.

a of 2

 
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 18 of 28 PageID #:18

TO THE STATE OF ILLINOIS

PRISONER REVIEW BOARD
319 EAST MADISON #A
SPRINGFIELD GATO/

in the Mater of :

LENNOX LAWRENCE #C-639/5
an Application -for Farele

 

PETITION FOR REHEARING
OR_ REASONS FOR DENIAL OF PAROLE

MR. CHAIRMAN FINLEY, because you have. not
respondad to my June AOIT hater wherein FL specifically
requestad a short and simple stotemant of +he reasons

for why you daniad my applieation for parole , and because
TL have nead of exhausting ‘an aveoilable Stote remedy to

—

become eligible for habeas corpus rehiet, Lam the
abeve~captionso P-rsoner whe files this Rtvton for Re-Heariag

and Grocct of Farale or a statement of the Faasens for

denying Mma such cond: tianal release, and in support
thereef L Sweaar Thot ?

1. Zam entitled +o tha clemancy of parole
because Lam +e actually innecant vietim ef an atrocious
Miscarriage of justicny and IT bean subjectad to #2 years
of cruel punts hmant pursuant ta the null and vord
suriedietien and Judgment of ao Stet Court.

a. The foots of this moter more filly appear

in the hereto ottac hed AFF al avi A
1

 
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 19 of 28 PageID #:19

Tra re LENNOX LAWRENCE #C-63915 Rtihon Brel

   

AF FIDAViT ‘
SUPPORTING REHEARING PETITION %

T, Lennox. LAWRENCE #C-63915 jn the. Cilhinest
upen My Ooth 40 TE the Truth, RareasPtar sot rth cts
accerdinG +o muy own persenol Knowled. a, and in accord gay th

whet E reasanally believe > be. true ; and +hereunder DL Sutear
Thet =

L. Loam subject to the sirsdiction of the United
Stetes, and L hove full legal capacity ~te contract.

a. Loam submitting this Afidowt Ja Support of my
foregoing Fetrtron for Parola Rehearing, as sincerely be brave.
am being deprivad of Liberty, and the ability to make money s
Without Due Focess of 739 TLCS 5/3-3-2(d), plus the Federal
— Court Decisions of Greanholtz -v-Nebraske., 977 S.C 2/90, and

U.S. for Seott -v- Lh Parola Board, 47 Fad 85, in walection of
the Hix Amendment of the Unifrad States Constitutian.

3, L cantend the Llinor's Frsoner Raview Board,
offer more than 2S Hearings in Fed yoars, centinucs +o ach
under color cf a Stee faw whith authorises Members therect +o
assume the parole. release statute does nof create any
presumption thet DL should be conditionally released, rf Tress
decide te arbitrarily and oppressively Fancy thot ftuso of the
specitiad grounds for denial ware found to exist, so sald statu
doas not create any constrtchonal Ihar-ty inforest antitlad te

J.

 

ang MAAS Ue of profaction.
 

entitled -tr be told why my release at Hus time — afar more
thon 2S times — would depreeate the serrousness of the
ofkince, and at approximately shot time would my refoase
not promote disrespect for the flow.

5. Moracver, at a bere minimum, Lo am ented +e be.
informed of whack appears in my judselal andr iastihetional
record that caused a Membor of this Pisoner~ Rewew Board
to Find denial is warrantod.

6 Conversely, “there 15 0 laundryhit of reasons for
why fel. years of oppression for allegedly Killing oreo strectyang stors
is more than enough cruel punishment fo past hy my limited

liberty.
7 tn accordance. usl-th 730 LLCS 5/3-3-a, said

Beard should hove Granteol me refease Or Tarole.
&, L hove been restored ty usefil ertizenship, in

Faltilment of the purpose proseribed by 730 ILCS S/'-l-ald),

and the objective sovereign ly promised by Seetion if of

Artirele | of the Liliners Constititisn,
7. There is ne risk. whatsoever thot wa will not

conform to Jegitimacte and jor reasoneble conditions of parcla.
/O, There fs no existence. of a prier Felony
Ds

convichoen in my sudieral recorol .

 
 

Case: 3:17-cyg0240 Document #: 1 Filed: 08/14/17 Page 21 of 28 PagelD #:21

    
  
 

RENCE FC-L3G/5 Fettion Faro he. Rehearing

\ By no exaggeration of comportmant Can Arabod
cleseribe OTL apparent pattern of aggressive behaviour Lo heve
aver exhibrted anqwhare.
la. Sard record has re report of any priee acu i+
parole or probation violation anstwhite to thi’s conviction.
f3. t+ would be nothing more than oa ridiculous
pretence te posts late thot L woulol refuse +o be supervised

on pore le ,

14, T+ has been made char as the color of me skin
thet I hove « place, of residence. and Financ al Support,

/S, No fidicious psychiatric examination could
ever determine... thet T am not Ii kaly +o conterm to rules

of parela.

lb. Because L hove never received ane logreal
explanation for the repetitious exeuse this Board proclarms
to justity denying me release , it seams Mambers hereof
Soy my release would deprecacte the. serrousnass of the
offence solaly because. DL was convichd of murder, and
Ikewise in repsatio ly pro claiming thot mag refease would
promote. disrespect for the faw.

IT. Because Loam traly the actually innocant
vietim of an atrocious miscarriage. of jushes, none of
the mitigactin ner aggravoting circumstances cascribed

in 38 Lil. Rev. Stet 1008-85-31) or BAD apply +o me.
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 22 of 28 PagelD #:22

EXHIBIT
i hE
[F Fuh’ 17

 
  

in re LENNOX LAWRENCE #C-4G yon Parole Rehearing

   

/8. Regardless cf whetver tretr that could possibly be
established by any percaeable Finding of the Administrative
Raview Boare , my release would have a zero adverse effet
on discipline in this or any ether mstitrhon; because I have
get to be so much as burlesguely implicated in any physical
attack en another prisoner or police ofGeial, and L amt ever
possessed any weapons or drugs, and Tam net o reputed

>

vitlater of eather Mmafor or miner institutional rules j and of
paramount importance, in the fel years of this inflichon of
cruel punishment, To have never perfirmed ang act that 15
prohibited ky law.

19. Tn view that on more than QO oveasians, this
Liners F-isener Keview Board has usad the phrase “at this
time. +2 e #4 oe } “ LL behave. it te be Ao riore, than
Fundamentally Parr thot, AS a guide to any Teisoner for
his Leture behaviour, said Farole Authority ought +o
provide ma a summary stotemant of the reasons for why
(A) LD have not bean restored to useful
citizens hip : :

(B) My release would deprecate the
Seriousness of the offince ; and,

(Cc) My release would promot. disrespect
for the law.

A
 

WHEREFORE, rf this State. Fei sener Reviews Boaret should
refuse to prompt great me His ragues tad Ra- Hearing, and wort

provide. me these 3 short and simple f@a50rs tor denying me sad
condi tional release, L shall reasonably inter such refusal -te respond

1s this Beord’s dacs} admission that aL LIS arbrtrarrly and
oppressively denied parole, tor neo agi trenacte reason at all, ano

with conscious disregard of my constitutional due process right

te such infermotion.
THEREFORE, tT declare. undar the. penalty of Pee ury

praseribed by laws thet all of the foregoing statements are pre
and eorrect and executed as such Ay me 4

    

THIS [9 of Jal QOIT

   
 

Lannok Lb RENCE
Feisonar No. C-6391S
Libineis State Rartentiary
Dixon 1024,

STATE OF QW 5

COUNTY OF _ =?

Sworn. to for affirmed) and subscribed before me
ig [9 day of Jef. 2007 by L-ennog La wrent ¢

 
  
 

  

 

Gyr lle A
GAs Sous OFFICIAL
Notary Public's Signature Notary} Wame SEAL
My Cotnmission Expires on 7 = [d-dez0 SALLY A. JOoS

 
 

NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires Jul 12, 2029

    

a
Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 24 of 28 PagelD #:24

Reecived 3/ TUL‘IT

 

 

x
_
=~
B
Q

Fe.

 

 
Fe
Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 25 of 28 PagelD #:25

 

 

 

 

 

ao.
State of Mlinois
PRISONER REVIEW BOARD ORDER Date: April 27, 2017
Name Number Fusility Docket No.
LENNOX LAWRENCE C63915 DIXON DC
Ta the Warden -

The following order is your authority to release this individual on parobe to the custody and supervision of the Olfice of Community Supervision, or conlitue to hold as indicated.
If parole is ordered, said order is subject to being vacated prior to release to parole. Any release is contingent upon execution of Parole ar Mandatory Supervised Release

Agrcement.

| PAROLE/MANDATORY SUPERVISED RELEASE REVOCATION:

Four not to be a violator

"i Declared a violator as of
on

 

Cl Statutory Parole
"? Mandatory Supervised Release
O Parole

Parole or refease revoked
C] Continued to

Parole of release comiinued

a

Cp Effective

 

it Effective when plans are approved

CO Subject to Condition(s) of Special Order
listed below

[3 Hearing continued to

 

 

Violator Rationale
The inmate named has viokited gy

    
  

   

Vv

.:

Violated condittt

 

of the Parole or Release Agreement.

CO Violated condition(s}

 

of your Special Order.
TJ Absconded.

Ci Failed to repact or falsitied report(s).

X PAROLE CONSIDERATION;

Ci Parole granted effective when
"? Parole plans are approved
Minimum is served

{1 Eligible

5 Subject to regolar conditions and

2 Subject to condition(s) of Special Orders
listed below

2X Parcte denied, continued to Louch Zoe F
{4 Hearing continued to

(Psychiatrie Report requested

1 For verification of parole plans

At inmate's request

OC Retease date olfer attached to and made a part
of this order.

See Rationale attached to and made 2 part of

 

 

 

 

 

 

 

© For further information Evidence Retied Upan this Order
(2 For Court Disposition iJ Counsefor’s Report
(4 At inmate’s request 2 Police Report Order of
0 For Violation Report (Witnesses testimony [i Amended

O Own Admission CI Stayed

OO Vacated
PRISONER REVIEW BOARD:
The Board finds that this evidence is sufficient because:
—
Lo Zz gina ee

 

 

 

 

 

 

 

SPECIAL ORDER(S):

You are obligated to the general rules governing parolees or mandatory supervised

releasecs and the following special ordetts}:

fi Substunce Abuse Counseling (CD)

1 Anger Management Counseling (CG)

? Outpatient Menial Health Counseling @CP)
(2 Sex Offender Counseling (CX)

ia Electronic Monitoring (CE) fora period of

in|

{3 Ne Vietam Contact (CT)

 

 

 

 

 

oe Ce <I

 

i> Be released to the warrant ue detainer against you. If the charge or charges on
which the warrant or detatner is based are dismissed you shall be returned to an
institution of the Department of Corrections for further consideration by the

Board. (CW)
iJ Other: (CO)

aE

 

 

Dot
Yue _ hj pre

 

 

 

IL 578-0011 (W145

Distribution: Board; Institution File; Resident: Clinical or Parole Services
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 26 of 28 PagelD #:26

STATE OF ILLINOIS
BRUCE RAUNER, GOVERNOR

PRISONER REVIEW BOARD

Craig Findley, Chairman

  
   

 

STATE OF ILLINOIS
PRISONER REVIEW BOARD
Name __ Lennox Lawrence No. _C-63915 Date April 27, 2017
RATIONALE

The basis for the Board’s decision is as follows:

Inmate Lennox Lawrence was interviewed for parole consideration on March 8, 2017 at the Dixon |
Correctional Center, Present for the interview were Board Member Johnson and Inmate Lawrence. Factors
considered include, but are not limited to: the inmate’s institutional adjustment, a review of the file, the nature
of the crime, the inmate’s testimony, and potential parole plans.

Inmate Lawrence is now 60 years old, having served approximately 40 years of 100-200 years for two
counts of Murder and 50-100 years for Attempt Murder, to run consecutively. Inmate Lawrence’s sentence is
for two murders and an attempt murder. These crimes occurred on June 13, 1975, at which time Inmate
Lawrence and two co-defendants, pre-arranged a party at the home of one of the co-defendants, Wayne
Lindsey. Inmate Lawrence and his three co-defendants, in an attempt to silence two witnesses in a murder trial,
shot and killed two men and seriously wounded a third, who identified Inmate Lawrence as one of the shooters.
Inmate Lawrence has consistently maintained he was not there and is innocent.

Inmate Lawrence’s institutional adjustment continues to be very good, having received just 4 tickets in
the past 21 years. While he has not taken advantage of educational or other programming during his
incarceration, he had worked in many jobs, including electrical and plumbing. Were he to parole, Inmate
Lawrence stated he would like to go to St. Leonard’s House in Chicago. If that placement was not possible, he
would like to go to his mother’s home in Chicago. Inmate Lawrence currently has an outstanding immigration
warrant from Jamaica and were he to be deported, he stated he has a brother and other family there who would
help him.

After a complete review by the Board as to the relevant issues concerning parole, the Board once again
voted to deny parole, for to do otherwise would deprecate the seriousness of the offence and bring disrespect for
the law. Parole is denied

The Board also finds, under the authority of 730 ILCS 5/3-3-5, that it is not reasonable to expect parole
to be granted prior to February 2019 and therefore continues Inmate Lawrence’s next parole eligibility hearing
to that docket.

TLI Abs

319 BE. MADISON STREET, SUITE A/ SPRINGFIELD, ILLINOIS 62701 / (217) 782-7273 Fax: (217) 524-0012
www illinois .gov/prb
 

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 27 of 28 PagelD #:27

UNITED STATES DISTRICT CourRT
NORTHERN ZLLINOIS
ROCKFORD, ZL G// 9!

LENNOX LAWRENCE #C-639/5;
PRititironer Pre 3¢,

 

-Vs- CASE Ne.!
PRISONER REVIEW BOARD,
Respondents.
O R DER

THIS MATTER comes de be heard on petitianars motion
for- Ort order directo to respondents and cammandin them to

file an answer which fesponds fo the allegations of is pleading
and proof of compelling him te be a witrhass ains+ himself

and denial ef due protass and cruel punishmant infliction 5 so
with alf partis having been daly notified of this procaading 5
and with the Court Being woll~advised im tHe pramises,

ZT £S HEREBY ORDERED +that Respondents fre,

iven dags te file an Answar o- other ploading thal responds
+, the alla ahion® of the R4rtion. P “ P

LEF£IS FURTHER ORDERED thet Respondents are given the
Same. days te Hile a Summary stotement ef the reasons wh
(A) Petthoner has net been restored +o useful ertizenshsp ; (B)

Rtrtioner’s release would depracecta the serrousness of the offanee 5
and , (0) Petthoner’s release wouled premote disrespect for the flaw,

 

 

ENTERED
THIS

 

of August AOl7,

 

Tudga..

Lenn ox Law renod
Peisener *C-6349IS

Lilinots Stote Raitotiary
Dincon &1021

COUNSEL OF PETITIONER .
 

 

        

Mea ELE Mea titel

(ONIX prostyoce
FSNQYTENGD S$3-LYLS PFtun
ATTN 43'°H43'G-e FAVE 49 NET?
AO Z2'L4O

Case: 3:17-cv-50240 Document #: 1 Filed: 08/14/17 Page 28 of 2

1CO(9 “caxr Hox: ;
‘SIN WORE U ABC

SL SF ete, PO OA OI et hae
